                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:11-cr-75

UNITED STATES OF AMERICA,                           )
                                                    )
       Plaintiff,                                   )
                                                    )                 ORDER
                       vs.                          )
                                                    )                 UNDER SEAL
NELSON JIMENEZ (6),                                 )
                                                    )
       Defendant.                                   )
                                                    )


       THIS MATTER is before the Court upon motion of the defendant for a continuance of

this matter from the June 6, 2011, trial term in the Charlotte Division. (Doc. No. 69).

       The Court has previously granted a continuance. (Doc. No. 57: Order). The instant

motion requests a continuance for cooperating and negotiating a plea with the government. For

the reasons stated in the motion, the Court finds that there is sufficient cause for one more

continuance in this matter. The Court further finds that the ends of justice served by taking such

action outweigh the interests of the public and the defendant to a speedy trial as set forth in 18

U.S.C. § 3161(h)(8)(A). Additionally, the parties have stated sufficient grounds to overcome the

public’s interest in access to court documents relating to the continuance. 18 U.S.C. §

3006A(e)(1).

       IT IS, THEREFORE, ORDERED that the above captioned case be continued to the

August 1, 2011, term of Court.

       IT IS FURTHER ORDERED that the request to file the continuance motion under seal

is GRANTED, pending further order of the Court.




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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney only.

                                                 Signed: June 3, 2011




                                              SEALED DOCUMENT with access to Specified Parties/Defendants




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